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                                                                                                       Reset Form             Print Form


                                        INTI-IE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF VfRGlNIA

     APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIV1L RULE 83.1 (D) AND LOCAL
                                                       CRIMINAL RULE 57.4
                  ln Case Number 3:17-cr-00049        , Case Name USA v. Patrick Falte
                  Party Represented by Applicant: _P_a_tn_·c_k_F_a_lte_ __ _ _ _ _ _ _ _ _ _ _ _~

To: The Honorable Judges of the United St.ates District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

FULL NAME (no initials, please) _C_h_a_r_le_s _D_a_v_
                                                    id_B_u_c_kh_o_lt_s _ _ __ _ __ _ __ _ _ __ _ _ _ _ _ _ _ __
Bar Identification Numbe:r 019318                   State Tennessee
Ffrm Name Chartes D. Buckholts, Attorney at Law (Sole Practitioner)
Firm Phone# (615) 386-7118                      Direct Dial # (615) 887-8037 (mobile}    FAX# (615) 232-3841
E-Mail Address chuck@buckholtslaw.com
Office Mailing Address 40 Burton Hills Blvd., Suite 200, Nashville, Tennessee 37215

Name(s) offederal court(s) in which I bave been admitted Middle and Eastern Districts ofTennessee

I certify that the rules of the federal court in the district io which J maintain my office extend a similar pro hoc vice admission
privilege to members of the bar of the Eastern District of Virginia.

J have not been reprjmanded in any court nor has there been any action in any court pertaioiog to my conduct or fitness as a
member of the bar.

l he.reby certify that, wit.bin ninety (90) days before the submission of this application, r have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Ci-vil Procedure, the Pederal Rules of Critnioal Procedure, and the Federal Rules of
Evidence is current

I am _ _ am not~ a full-time employee of the United States of America, and~                  q_ud}~xe~ ~mission fee.

                                                                                     (Applicant's Signature)

I, the undersigned, do certify that I am a member of the bar of tbis Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of th.e qualifications required for adwissjou to the bar of th.is Court; that l have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing ace good, and
petition the court to ,Omit the "l'Plkantpro hae ,;ce.                    ~


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                                                                                                                ~S-4199
                                                           (Typed or Printed Name)                             (VA Bar NU1l1ber)
Court Use Only:

Clerk's Fee Paid _ _ _ or Exemption Granted _ __

The motion for admission is GR.Ai'\!TED _ _ _ or DENJED _ _ _




                         (Judge's Signature)                                                  (Date)
